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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

ENTRI, LLC,                                        )
                                                   )
                 Plaintiff,                        )
                                                   )
v.                                                 )        Civil Action No. 1:24-cv-00569 (AJT/WEF)
                                                   )
GODADDY.COM, LLC.,                                 )
                                                   )
                 Defendant.                        )

                                                   ORDER
         A Fed. R. Civ. P. 16(b) PRETRIAL CONFERENCE will be held on Wednesday, August 21,
2024 at 11:00 a.m. before a magistrate judge. The parties shall confer before this conference to consider
the claims, defenses, possibilities of a prompt settlement or resolution of the case, trial before a magistrate
judge, to arrange for the disclosures required by Rule 26(a)(1), and to develop a discovery plan which will
complete discovery by Friday, December 13, 2024. A party may not exceed five (5) non-party, non-
expert witness depositions and may not serve on any other party more than thirty (30) interrogatories,
including parts and subparts, without leave of court. Proposed discovery plans must be filed by the
Wednesday one week before the Rule 16(b) pretrial conference.


        The FINAL PRETRIAL CONFERENCE will be held telephonically on Thursday, December 19,
2024 at 10:00 a.m.

         The parties must electronically file on or before the final pretrial conference the Rule 26(a)(3)
disclosures and a list of the exhibits to be used at trial, a list of the witnesses to be called at trial and a
written stipulation of uncontested facts. The exhibits themselves or a copy should be exchanged with
opposing counsel before the conference. Objections to exhibits must be filed within 10 days after the
conference; otherwise the exhibits shall stand admitted in evidence. The original exhibits shall be
delivered to the clerk as provided by Local Rule 79(A). Non-expert witnesses and exhibits not so
disclosed and listed will not be permitted at trial except for impeachment or rebuttal, and no person may
testify whose identity, being subject to disclosure or timely requested in discovery, was not disclosed in
time to be deposed or to permit the substance of his knowledge and opinions to be ascertained. The trial
of this case will be set for a day certain, within 4-8 weeks of the final pretrial conference.

        Discovery may begin as of receipt of this Order.

     PERSONAL IDENTIFIERS MUST BE REDACTED FROM ALL PUBLICLY FILED
PLEADINGS AND EXHIBITS IN ACCORDANCE WITH LOCAL RULE 7(C).


                                                   _________/s/__________________
                                                   Anthony J. Trenga
                                                   Senior United States District Judge

July 31, 2024
Alexandria, Virginia
